Case 16-31602           Doc 1430        Filed 01/16/19 Entered 01/16/19 11:37:50                      Desc Main
                                        Document      Page 1 of 13




                              UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION



In Re:                                                          Case No. 16-31602

 Kaiser Gypsum Company, Inc., et al.                            Chapter 11

         Debtors. 1                                             Jointly Administered

 -------------------------------------------------------

 Kaiser Gypsum Company, Inc., et al..,

     Plaintiffs                                                 Adversary Proceeding

v.                                                              No. 18-AP-03078

Armstrong World Industries, Inc.,

     Defendant


                        AMENDED NOTICE OF PROPOSED AGENDA OF
                         MATTERS SCHEDULED FOR HEARING ON
                         THURSDAY, JANUARY 17, 2019, AT 9:30 A.M.

                                     Added matters are noted in bold.

                                         CONTINUED MATTERS

     1. Truck Insurance Exchange’s Motion for an Order (I) Approving the Disclosure
        Statement, (II) Scheduling a Confirmation Hearing, and (III) Establishing Notice
        and Objection Procedures for Confirmation of Truck Insurance Exchange’s
        Chapter 11 Plan [Docket No. 892].

             a. Related Pleadings:

                       i. First Amended Chapter 11 Plan of Reorganization for Kaiser Gypsum
                          Company, Inc. and Hanson Permanente Cement, Inc., Proposed by Truck
                          Insurance Exchange [Docket No. 1203]

1 The Debtors are the following entities (the last four digits of their respective taxpayer identification numbers
follow in parentheses): Kaiser Gypsum Company, Inc. (0188) and Hanson Permanente Cement, Inc. (7313). The
Debtors' address is 300 E. John Carpenter Freeway, Irving, Texas 75062.

                                                   {00321487 v 1 }1
Case 16-31602     Doc 1430      Filed 01/16/19 Entered 01/16/19 11:37:50           Desc Main
                                Document      Page 2 of 13


                ii. First Amended Disclosure Statement for First Amended Chapter 11 Plan
                    of Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                    Permanente Cement, Inc., Proposed by Truck Insurance Exchange
                    [Docket No. 1204]

                iii. Truck Insurance Exchange’s Supplemental Motion for an Order (I)
                     Approving the Disclosure Statement, (II) Establishing Voting, Solicitation,
                     and Tabulation Procedures, (III) Scheduling a Confirmation Hearing, and
                     (IV) Establishing Notice and Objection Procedures for Confirmation of
                     Truck Insurance Exchange’s Chapter 11 Plan for Kaiser Gypsum
                     Company, Inc. and Hanson Permanente Cement, Inc. [Docket No. 1205]

                iv. Notice of Filing of Amended Plan and Amended Disclosure Statement and
                    Notice of Hearing [Docket No. 1206]

                v. Objection to Motion of Truck Insurance Exchange for an Order Approving
                   the Proposed Disclosure Statement [Docket No. 1238]

                vi. Objection of the Oregon Department of Environmental Quality to Truck’s
                    First Amended Disclosure Statement [Docket No. 1240]

            vii. First State Companies’ Objection to the Disclosure Statement Motions
                 [Docket No. 1241]

            viii. Scheduling Order Regarding Motions to Approve Solicitation Procedures
                  and Disclosure Statements with Respect to Truck Plan and Joint Plan
                  [Docket No. 1265]

                ix. Second Amended Chapter 11 Plan of Reorganization for Kaiser Gypsum
                    Company, Inc., and Hanson Permanente Cement, Inc., Proposed by Truck
                    Insurance Exchange [Docket No. 1268]

                x. Second Amended Disclosure Statement for Second Amended Chapter 11
                   Plan of Reorganization for Kaiser Gypsum Company, Inc., and Hanson
                   Permanente Cement, Inc., Proposed by Truck Insurance Exchange
                   [Docket No. 1269]

                xi. Notice of Filing Revised Proposed Order Approving Disclosure Statement
                    Motion and Related Exhibits [Docket No. 1270]

            xii. Notice of Filing Second Revised Plan Supplement Documents [Docket No.
                 1272]

            xiii. Withdrawal of Objection to Motion of Truck Insurance Exchange for an
                  Order Approving the Proposed Disclosure Statement [Docket No. 1291]

            xiv. Joinder of the Insurance Company of the State of Pennsylvania, Granite
                 State Insurance Company, and Lexington Insurance Company in First

                                        {00321487 v 1 }2
Case 16-31602   Doc 1430    Filed 01/16/19 Entered 01/16/19 11:37:50         Desc Main
                            Document      Page 3 of 13


                 State Companies’ Objection to the Disclosure Statement Motions [Docket
                 No. 1292]

            xv. Supplemental Objection of the Oregon Department of Environmental
                Quality to Second Amended Disclosure Statement for Second Amended
                Chapter 11 Plan of Reorganization for Kaiser Gypsum Company, Inc.,
                and Hanson Permanente Cement, Inc., Proposed by Truck Insurance
                Exchange [Docket No. 1295]

            xvi. The First State Companies’ (A) Objection to the Debtors’ Disclosure
                 Statement Motion and (B) Reservation of Rights with Respect to the Truck
                 Plan [Docket No. 1298]

           xvii. Objection of the Future Claimants’ Representative to the Proposed
                 Disclosure Statement for Chapter 11 Plan of Reorganization Proposed by
                 Truck Insurance Exchange [Docket No. 1300]

           xviii. Debtor’s Objection to Truck Insurance Exchange’s Supplemental Motion
                  for an Order (I) Approving the Disclosure Statement, (II) Establishing
                  Voting, Solicitation, and Tabulation Procedures, (III) Scheduling a
                  Confirmation Hearing and (IV) Establishing Notice and Objection
                  Procedures for Confirmation of Truck Insurance Exchange’s Chapter 11
                  Plan for Kaiser Gypsum Company, Inc., and Hanson Permanente Cement,
                  Inc. [Docket No. 1301]

            xix. Objection of the Official Committee of Asbestos Personal Injury
                 Claimants to Truck Insurance Exchange’s Second Amended Disclosure
                 Statement [Docket No. 1303]

            xx. Consent Order Extending Deadline for Unsecured Creditors Committee to
                File Objection to Disclosure Statement [Docket No. 1307]

            xxi. Joinder by Allstate Insurance Company to First State Companies’ (A)
                 Objection to the Debtors’ Disclosure Statement Motion and (B)
                 Reservation of Rights with Respect to the Truck Plan [Docket No. 1309]

           xxii. Partial Joinder of the Committee of Unsecured Creditors in the Debtors’
                 Objection to Truck Insurance Exchange’s Supplemental Motion for an
                 Order (I) Approving the Disclosure Statement, (II) Establishing Voting,
                 Solicitation, and Tabulation Procedures, (III) Scheduling a Confirmation
                 Hearing and (IV) Establishing Notice and Objection Procedures for
                 Confirmation of Truck Insurance Exchange’s Chapter 11 Plan for Kaiser
                 Gypsum Company, Inc., and Hanson Permanente Cement, Inc. [Docket
                 No. 1310]

           xxiii. Third Amended Chapter 11 Plan of Reorganization for Kaiser Gypsum
                  Company, Inc. and Hanson Permanente Cement, Inc., Proposed by Truck
                  Insurance Exchange [Docket No. 1342]

                                    {00321487 v 1 }3
Case 16-31602   Doc 1430    Filed 01/16/19 Entered 01/16/19 11:37:50         Desc Main
                            Document      Page 4 of 13


           xxiv. Third Amended Disclosure Statement for Third Amended Chapter 11 Plan
                 of Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                 Permanente Cement, Inc., Proposed by Truck Insurance Exchange
                 [Docket No. 1343]

           xxv. Notice of Filing of Redlines for (A) Third Amended Chapter 11 Plan of
                Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                Permanente Cement, Inc., Proposed by Truck Insurance Exchange and (B)
                Disclosure Statement for Third Amended Chapter 11 Plan [Docket No.
                1344]

           xxvi. Notice of Filing Revised Proposed Order Approving Disclosure Statement
                 Motion and Related Exhibits [Docket No. 1345]

          xxvii. Notice of Filing Third Revised Plan Supplement Documents [Docket No.
                 1347]

          xxviii. Scheduling Order Regarding Motions to Approve Solicitation Procedures
                  and Disclosure Statements With Respect to Truck Plan and Joint Plan
                  [Docket No. 1351]

           xxix. The First State Companies’ (A) Objection to the Debtors’ Disclosure
                 Statement Motion and (B) Reservation of Rights with Respect to the Truck
                 Plan [Docket No. 1366]

           xxx. Amended Objection of the Future Claimants’ Representative to the
                Proposed Disclosure Statement for Chapter 11 Plan of Reorganization
                Proposed by Truck Insurance Exchange [Docket No. 1369]

           xxxi. Debtors’ Supplemental Objection to Truck Insurance Exchange’s
                 Supplemental Motion for Approval of its Disclosure Statement and
                 Related Relief [Docket No. 1370]

          xxxii. Objection of the Official Committee of Asbestos Personal Injury
                 Claimants to Truck Insurance Exchange’s Third Amended Disclosure
                 Statement [Docket No. 1371]

          xxxiii. Joinder by Allstate Insurance Company to First State Companies’ (A)
                  Objection to the Debtors’ Disclosure Statement Motion and (B)
                  Reservation of Rights with Respect to the Truck Plan [Docket No. 1382]

          xxxiv. Fourth Amended Chapter 11 Plan of Reorganization for Kaiser Gypsum
                 Company, Inc. and Hanson Permanente Cement, Inc., Proposed by Truck
                 Insurance Exchange [Docket No. 1413]

          xxxv. Fourth Amended Disclosure Statement for Fourth Amended Chapter 11
                Plan of Reorganization for Kaiser Gypsum Company, Inc. and Hanson


                                    {00321487 v 1 }4
Case 16-31602           Doc 1430       Filed 01/16/19 Entered 01/16/19 11:37:50                    Desc Main
                                       Document      Page 5 of 13


                          Permanente Cement, Inc., Proposed by Truck Insurance Exchange
                          [Docket No. 1414]

                xxxvi. Notice of Filing of Redlines for (A) Fourth Amended Chapter 11 Plan of
                       Reorganization for Kaiser Gypsum Company, Inc. and Hanson
                       Permanente Cement, Inc., Proposed by Truck Insurance Exchange and (B)
                       Disclosure Statement for Fourth Amended Chapter 11 Plan [Docket No.
                       1415]

               xxxvii. Notice of Filing Fourth Revised Plan Supplement Documents [Docket No.
                       1416]

               xxxviii. Third Scheduling Order Regarding Motions to Approve Solicitation
                        Procedures and Disclosure Statements With Respect to Truck Plan and
                        Joint Plan [Docket No. 1419]

             b. Objection Deadline: Thursday, January 10, 20192

             c. Status: This matter is continued to February 14, 2019 at 9:30 a.m.

    2. Motion of Debtors for an Order (I) Approving Their Disclosure Statement, (II)
       Establishing Procedures for Solicitation and Tabulation of Votes to Accept or Reject
       Proposed Joint Plan of Reorganization and (III) Scheduling a Hearing on
       Confirmation of Proposed Joint Plan of Reorganization and Approving Related
       Notice Procedures [Docket No. 1153]

             a. Related Pleadings:

                      i. Joint Plan of Reorganization of Kaiser Gypsum Company, Inc. and
                         Hanson Permanente Cement, Inc. [Docket No. 1085]

                     ii. Disclosure Statement for Joint Plan of Reorganization of Kaiser Gypsum
                         Company, Inc. and Hanson Permanente Cement, Inc. [Docket No. 1152]

                    iii. Objection to Motion of Debtors for an Order Approving the Proposed
                         Disclosure Statement [Docket No. 1237]

                     iv. Objection of the Oregon Department of Environmental Quality to
                         Debtors’ Disclosure Statement [Docket No. 1239]

                     v. First State Companies’ Objection to the Disclosure Statement Motions
                        [Docket No. 1241]

                     vi. Notice of Filing of Exhibits to Disclosure Statement for Joint Plan of
                         Reorganization [Docket No. 1256]


2 As originally set by Docket No. 1419. This deadline has been suspended consistent with adjournment of the
hearing on this matter.

                                                 {00321487 v 1 }5
Case 16-31602     Doc 1430     Filed 01/16/19 Entered 01/16/19 11:37:50        Desc Main
                               Document      Page 6 of 13


            vii. Supplement to Debtors’ Solicitation Procedures Motion [Docket No.
                 1267]

            viii. First Amended Joint Plan of Reorganization of Kaiser Gypsum Company,
                  Inc., and Hanson Permanente Cement, Inc. [Docket No. 1271]

                ix. Disclosure Statement for First Amended Joint Plan of Reorganization of
                    Kaiser Gypsum Company, Inc., and Hanson Permanente Cement, Inc.
                    [Docket No. 1273]

                x. Notice of Filing of Redlines for (A) First Amended Joint Chapter 11 Plan
                   of Reorganization of Kaiser Gypsum Company, Inc., and Hanson
                   Permanente Cement, Inc., and (B) Disclosure Statement for First
                   Amended Joint Plan [Docket No. 1275]

                xi. Supplement to the Objection to Motion of Debtors for an Order Approving
                    the Proposed Disclosure Statement [Docket No. 1290]

            xii. Joinder of the Insurance Company of the State of Pennsylvania, Granite
                 State Insurance Company, and Lexington Insurance Company in First
                 State Companies’ Objection to the Disclosure Statement Motions [Docket
                 No. 1292]

            xiii. Objection of the Official Committee of Unsecured Creditors to Motion of
                  Debtors for an Order (I) Approving Their Disclosure Statement, (II)
                  Establishing Procedures for Solicitation and Tabulation of Votes to
                  Accept or Reject Proposed Joint Plan of Reorganization and (III)
                  Scheduling a Hearing on Confirmation of Proposed Joint Plan of
                  Reorganization and Approving Related Notice Procedures [Docket No.
                  1293]

            xiv. Supplemental Objection of the Oregon Department of Environmental
                 Quality to Debtor’s First Amended Disclosure Statement [Docket No.
                 1294]

            xv. The First State Companies’ (A) Objection to the Debtors’ Disclosure
                Statement Motion and (B) Reservation of Rights with Respect to the Truck
                Plan [Docket No. 1298]

            xvi. United States’ Objection to Debtors’ Motion for an Order (I) Approving
                 Their Disclosure Statement, (II) Establishing Procedures for Solicitation
                 and Tabulation of Votes to Accept or Reject Proposed Joint Plan of
                 Reorganization and (III) Scheduling a Hearing on Confirmation of
                 Proposed Joint Plan of Reorganization and Approving Related Notice
                 Procedures [Docket No. 1299]

           xvii. Objection of Truck Insurance Exchange to Motion for Approval of
                 Debtors’ Disclosure Statement [Docket No. 1302]

                                       {00321487 v 1 }6
Case 16-31602   Doc 1430    Filed 01/16/19 Entered 01/16/19 11:37:50         Desc Main
                            Document      Page 7 of 13


           xviii. Consent Order Extending Deadline for Unsecured Creditors Committee to
                  File Objection to Disclosure Statement [Docket No. 1307]

            xix. Joinder by Allstate Insurance Company to First State Companies’ (A)
                 Objection to the Debtors’ Disclosure Statement Motion and (B)
                 Reservation of Rights with Respect to the Truck Plan [Docket No. 1309]

            xx. Limited Joinder of TIG Insurance Company (Formerly Known as
                Transamerica Insurance Company and as Successor by Merger to
                International Insurance Company), and Evanston Insurance Company, as
                Successor by Merger to Associated International Insurance Company to
                United States’ Objection to Debtors’ Motion for an Order (I) Approving
                Their Disclosure Statement, (II) Establishing Procedures for Solicitation
                and Tabulation of Votes to Accept or Reject Proposed Joint Plan of
                Reorganization and (III) Scheduling a Hearing on Confirmation of
                Proposed Joint Plan of Reorganization and Approving Related Notice
                Procedures [Docket No. 1311]

            xxi. Notice of Filing of Amended Trust Agreement and Trust Distribution
                 Procedures and Redlines for Same [Docket No. 1346]

           xxii. Second Amended Joint Plan of Reorganization of Kaiser Gypsum
                 Company, Inc. and Hanson Permanente Cement, Inc. [Docket No. 1348]

           xxiii. Disclosure Statement for Second Amended Joint Plan of Reorganization of
                  Kaiser Gypsum Company, Inc. and Hanson Permanente Cement, Inc.
                  [Docket No. 1349]

           xxiv. Notice of Filing of Redlines for (A) Second Amended Joint Plan of
                 Reorganization of Kaiser Gypsum Company, Inc. and Hanson Permanente
                 Cement, Inc. and (B) Disclosure Statement for Second Amended Joint
                 Plan [Docket No. 1350]

           xxv. Scheduling Order Regarding Motions to Approve Solicitation Procedures
                and Disclosure Statements With Respect to Truck Plan and Joint Plan
                [Docket No. 1351]

           xxvi. United States’ Supplemental Objection to Debtors’ Motion for an Order
                 (I) Approving Their Disclosure Statement, (II) Establishing Procedures
                 for Solicitation and Tabulation of Votes to Accept or Reject Proposed
                 Joint Plan of Reorganization and (III) Scheduling a Hearing on
                 Confirmation of Proposed Joint Plan of Reorganization and Approving
                 Related Notice Procedures [Docket No. 1364]

          xxvii. The First State Companies’ (A) Objection to the Debtors’ Disclosure
                 Statement Motion and (B) Reservation of Rights with Respect to the Truck
                 Plan [Docket No. 1366]


                                    {00321487 v 1 }7
Case 16-31602           Doc 1430       Filed 01/16/19 Entered 01/16/19 11:37:50                    Desc Main
                                       Document      Page 8 of 13


                xxviii. Supplemental Objection of Truck Insurance Exchange to Motion for
                        Approval of Debtors’ Disclosure Statement [Docket No. 1367]

                  xxix. Supplemental Objection of the Official Committee of Unsecured Creditors
                        to the Motion of Debtors for an Order (I) Approving Their Disclosure
                        Statement, (II) Establishing Procedures for Solicitation and Tabulation of
                        Votes to Accept or Reject Proposed Joint Plan of Reorganization and (III)
                        Scheduling a Hearing on Confirmation of Proposed Joint Plan of
                        Reorganization and Approving Related Notice Procedures [Docket No.
                        1373]

                   xxx. Joinder by Allstate Insurance Company to First State Companies’ (A)
                        Objection to the Debtors’ Disclosure Statement Motion and (B)
                        Reservation of Rights with Respect to the Truck Plan [Docket No. 1382]

             b. Objection Deadline: Thursday, January 10, 20193

             c. Status: This matter is continued to February 14, 2019 at 9:30 a.m.

    3. Debtors’ Objection to Claim of the Oregon Department of Environmental Quality
       [Docket No. 1242]

             a. Related Pleadings:

                      i. Joinder by Certain Insurers in Debtor’s Objection to Claim of the Oregon
                         Department of Environmental Quality [Docket No. 1250]

                     ii. Preliminary Response of Armstrong Word Industries, Inc., to Debtors’
                         Objection to Claim of the Oregon Department of Environmental Quality
                         [Docket No. 1263]

                    iii. AIU Insurance Company, Granite State Insurance Company, The
                         Insurance Company of the State of Pennsylvania, Lexington Insurance
                         Company, and National Union Fire Insurance Company of Pittsburgh, PA
                         (For Itself and For Landmark Insurance Company) Joinder in Debtors’
                         Objection to Claim of the Oregon Department of Environmental Quality
                         [Docket No. 1264]

                     iv. Debtors’ Reply to Armstrong World Industries, Inc.’s, Response to
                         Debtors’ Objection to Claim of the Oregon Department of Environmental
                         Quality [Docket No. 1289]

             b. Objection Deadline: Tuesday, November 6, 2018, at 4:00 p.m., except as
                extended by agreement.



3 As originally set by Docket No. 1419. This deadline has been suspended consistent with adjournment of the
hearing on this matter.

                                                 {00321487 v 1 }8
Case 16-31602     Doc 1430      Filed 01/16/19 Entered 01/16/19 11:37:50           Desc Main
                                Document      Page 9 of 13


        c. Status: This matter is continued to February 14, 2019, at 9:30 a.m.

  4. Debtors’ Second Omnibus Objection to Claims of the Port of Seattle (Claim Nos. 23
     and 24) [Docket No. 1278]

        a. Related Pleadings:

                 i. Declaration of Charles E. McChesney II in Support of Debtors’ First, Second,
                    Third and Fourth Objections to Claims [Docket No. 1281]

                ii. AIU Insurance Company, Granite State Insurance Company, The
                    Insurance Company of the State of Pennsylvania, Lexington Insurance
                    Company, and National Union Fire Insurance Company of Pittsburgh, PA
                    (for itself and for Landmark Insurance Company) Joinder in Debtors’
                    First, Second, Third, and Fourth Omnibus Objections to Lower Duwamish
                    Waterway Claims [Docket No. 1317]

                iii. Joinder by Certain Insurers in Debtors’ Second Omnibus Objection to
                     Lower Duwamish Waterway Claims (Port of Seattle (Claim Nos. 23 and
                     24)) [Docket No. 1319]

                iv. Amended Notice of Opportunity for Hearing [Docket No. 1322]

                v. Consent Order Adjourning Hearing on Debtors’ Second, Third and
                   Fourth Omnibus Objections to Lower Duwamish Waterway Claims
                   (Claims Nos. 23, 24, 28, 33, 71 and 88) and Setting Response Deadline
                   [Docket No. 1426]

        b. Objection Deadline: Friday, February 1, 2019

        c. Status: This matter is continued to February 14, 2019, at 9:30 a.m.


  5. Debtors’ Third Omnibus Objection to Claims of the City of Seattle (Claim Nos. 28
     and 33) [Docket No. 1279]

        a. Related Pleadings:

                 i. Declaration of Charles E. McChesney II in Support of Debtors’ First,
                    Second, Third and Fourth Objections to Claims [Docket No. 1281]

                ii. AIU Insurance Company, Granite State Insurance Company, The
                    Insurance Company of the State of Pennsylvania, Lexington Insurance
                    Company, and National Union Fire Insurance Company of Pittsburgh, PA
                    (for itself and for Landmark Insurance Company) Joinder in Debtors’
                    First, Second, Third, and Fourth Omnibus Objections to Lower Duwamish
                    Waterway Claims [Docket No. 1317]
                                        {00321487 v 1 }9
Case 16-31602     Doc 1430    Filed 01/16/19 Entered 01/16/19 11:37:50           Desc Main
                              Document     Page 10 of 13




                iii. Joinder by Certain Insurers Debtors’ Third Omnibus Objection to Lower
                     Duwamish Waterway Claims (City of Seattle (Claim Nos. 28 and 33))
                     [Docket No. 1320]

                iv. Amended Notice of Opportunity for Hearing [Docket No. 1322]

                v. Consent Order [Docket No. 1409]

                vi. Consent Order Adjourning Hearing on Debtors’ Second, Third and
                    Fourth Omnibus Objections to Lower Duwamish Waterway Claims
                    (Claims Nos. 23, 24, 28, 33, 71 and 88) and Setting Response Deadline
                    [Docket No. 1426]

        b. Objection Deadline: Friday, February 1, 2019

        c. Status: This matter is continued to February 14, 2019, at 9:30 a.m.

  6. Debtors’ Fourth Omnibus Objection to Claims of King County, Washington (Claim
     Nos. 71 and 88) [Docket No. 1280]

        a. Related Pleadings:

                 i. Declaration of Charles E. McChesney II in Support of Debtors’ First,
                    Second, Third and Fourth Objections to Claims [Docket No. 1281]

                ii. AIU Insurance Company, Granite State Insurance Company, The
                    Insurance Company of the State of Pennsylvania, Lexington Insurance
                    Company, and National Union Fire Insurance Company of Pittsburgh, PA
                    (for itself and for Landmark Insurance Company) Joinder in Debtors’
                    First, Second, Third, and Fourth Omnibus Objections to Lower Duwamish
                    Waterway Claims [Docket No. 1317]

                iii. Joinder by Certain Insurers in Debtors’ Fourth Omnibus Objection to
                     Lower Duwamish Waterway Claims (King County, Washington (Claim
                     Nos. 71 and 88)) [Docket No. 1321]

                iv. Amended Notice of Opportunity for Hearing [Docket No. 1322]

                v. Consent Order Adjourning Hearing on Debtors’ Second, Third and
                   Fourth Omnibus Objections to Lower Duwamish Waterway Claims
                   (Claims Nos. 23, 24, 28, 33, 71 and 88) and Setting Response Deadline
                   [Docket No. 1426]

        b. Objection Deadline: Friday, February 1, 2019



                                      {00321487 v 1 }10
Case 16-31602     Doc 1430    Filed 01/16/19 Entered 01/16/19 11:37:50           Desc Main
                              Document     Page 11 of 13


        c. Status: This matter is continued to February 14, 2019, at 9:30 a.m.


                                 RESOLVED MATTER

  7. Armstrong World Industries, Inc.’ Partial Motion to Dismiss Plaintiff’s Adversary
     Complaint and Motion to Stay Adversary Proceeding Pending Determination of
     Motion to Withdraw Reference [AP No. 18-03078; Docket No. 16]

        a. Related Pleadings:

                 i. Complaint of Kaiser Gypsum Company, Inc. for Money Damages and
                    Declaratory Relief [AP No. 18-03078; Docket No. 1]

                ii. Debtors’ Objection to Claim of Armstrong World Industries, Inc. [Claim
                    No. 65) [AP No. 18-03078; Docket No. 2]

                iii. Defendant Armstrong World Industries, Inc.’s Motion to Withdraw the
                     Reference [AP No. 18-03078; Docket No. 12]

                iv. Joinder by Certain Insurers in Debtors’ Objection to Claim of Armstrong
                    World Industries, Inc. (Claim No. 65) [16-31602; Docket No. 1424]

        b. Objection Deadline: Thursday, January 10, 2019

        c. Status: Parties are preparing a Consent Order granting stay pending determination
           of Motion to Withdraw the Reference

                                STATUS CONFERENCE

  8. Debtors’ First Omnibus Objection to Claims of The Boeing Company (Claim Nos.
     68, 281, 447 and 645) [Docket No. 1277]

        a. Related Pleadings:

                 i. Declaration of Charles E. McChesney II in Support of Debtors’ First,
                    Second, Third and Fourth Objections to Claims [Docket No. 1281]

                ii. AIU Insurance Company, Granite State Insurance Company, The
                    Insurance Company of the State of Pennsylvania, Lexington Insurance
                    Company, and National Union Fire Insurance Company of Pittsburgh, PA
                    (for itself and for Landmark Insurance Company) Joinder in Debtors’
                    First, Second, Third, and Fourth Omnibus Objections to Lower Duwamish
                    Waterway Claims [Docket No. 1317]




                                      {00321487 v 1 }11
Case 16-31602     Doc 1430    Filed 01/16/19 Entered 01/16/19 11:37:50         Desc Main
                              Document     Page 12 of 13


                iii. Joinder by Certain Insurances in Debtors’ First Omnibus Objection to
                     Lower Duwamish Waterway Claims (The Boeing Company (Claim Nos.
                     68, 281, 447 and 645)) [Docket No. 1318]

                iv. Response of The Boeing Company to Debtors’ First Omnibus Objection to
                    Lower Duwamish Waterway Claims (The Boeing Company) (Claim Nos.
                    68, 281, 447, and 645); Motion to Strike; Request for Temporary
                    Allowance of Claims for Voting Purposes [Docket No. 1355]

                v. Declaration of Brett Prodzinski in Support of Response of The Boeing
                   Company to Debtors’ First Omnibus Objection to Lower Duwamish
                   Waterways Claims [Docket No. 1356]

                vi. Declaration of Jay Vandeven in Support of Response of The Boeing
                    Company to Debtor’s First Omnibus Objection to Lower Duwamish
                    Waterways Claims [Docket No. 1357]

              vii. Debtors’ Limited Reply to Response of The Boeing Company to Debtors’
                   First Omnibus Objection [Docket No. 1363]

        b. Objection Deadline: Monday, December 17, 2018

        c. Status: This matter is going forward as a status conference only.

                     CONTESTED MATTER GOING FORWARD

  8. Debtors’ Motion for an Order Approving Settlement with Owens Corning Fiberglas
     Corporation [Docket No. 1401]

        b. Related Pleadings:

                 i. Preliminary Response of Armstrong World Industries, Inc. to Debtors’
                    Motion for an Order Approving Settlement with Owens Corning Fiberglas
                    Corporation [Docket No. 1410]

                ii. Debtors’ Reply in Support of their Motion for an Order Approving
                    Settlement with Owens Corning Fiberglas Corporation [Docket No. 1427]

                iii. Joinder by Owens Corning Fiberglass Corporation in Reply by Debtor
                     Kaiser Gypsum Company, Inc. to Preliminary Response of Armstrong
                     World Industries, Inc. to Debtors’ Motion for an Order Approving
                     Settlement with Owens Corning Fiberglass Corporation [Docket No.
                     1429]

        c. Objection Deadline: Friday, January 4, 2019

        d. Status: This matter is going forward.

                                      {00321487 v 1 }12
Case 16-31602       Doc 1430     Filed 01/16/19 Entered 01/16/19 11:37:50          Desc Main
                                 Document     Page 13 of 13




Requests for telephonic appearances should be directed to hearings@ncwd.net.

This, the 16th day of January, 2019.
                                          RAYBURN COOPER & DURHAM, P.A.

                                          By:       /s/ John R. Miller, Jr.
                                                    John R. Miller, Jr.
                                                    N.C. State Bar No. 28689
                                                    1200 Carillion, 227 West Trade Street
                                                    Charlotte, NC 28202
                                                    (704) 334-0891

                                          Counsel to the Debtors and Debtors in possession




                                       {00321487 v 1 }13
